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PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 09/30/2011)


                       Revocation of Attorney/Domestic Representative and/or Appointment of
                                         Attorney/Domestic Representative


                                                   The table below presents the data as entered.

                                     Input Field                                               Entered
             SERIAL NUMBER                                     77809223
             LAW OFFICE ASSIGNED                               LAW OFFICE 116
             ATTORNEY DOCKET NUMBER                            29985-
             MARK SECTION
             MARK                                              Design only
             NEW OTHER APPOINTED ATTORNEYS                     John P. Rynkiewicz, Victoria haje, Mark Godler
             NEW ATTORNEY ADDRESS
                                                               By submission of this request, the undersigned hereby APPOINTS the
             STATEMENT TEXT
                                                               following new attorney.
             NAME                                              Paul Llewellyn
             FIRM NAME                                         Kaye Scholer LLP
             STREET                                            425 Park Avenue
             CITY                                              New York
             STATE                                             New York
             COUNTRY                                           United States
             POSTAL/ZIP CODE                                   10022
             PHONE                                             2128367828
             FAX                                               2128366463
             ATTORNEY DOCKET NUMBER                            29985-
             NEW CORRESPONDENCE ADDRESS
             NAME                                              Paul Llewellyn
             FIRM NAME                                         Kaye Scholer LLP
             STREET                                            425 Park Avenue
             CITY                                              New York
             STATE                                             New York
             COUNTRY                                           United States
             POSTAL/ZIP CODE                                   10022
             PHONE                                             2128367828
             FAX                                               2128366463
             OTHER APPOINTED ATTORNEY                          John P. Rynkiewicz, Victoria haje, Mark Godler
             SIGNATURE SECTION

                                                                                                                             119253
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SIGNATURE                           /Lois B. Duquette/
SIGNATORY NAME                      Lois B. Duquette
SIGNATORY DATE                      11/15/2010
SIGNATORY POSITION                  Assistant Secretary
FILING INFORMATION SECTION
SUBMIT DATE                         Mon Nov 15 18:16:19 EST 2010
                                    USPTO/RAA-XXX.XXX.XX.X-20
                                    101115181619532494-778092
TEAS STAMP                          23-4701c22ebc69ba6322c12b
                                    22fd29874d1f4-N/A-N/A-201
                                    01115171849981698




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PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 09/30/2011)




                       Revocation of Attorney/Domestic Representative and/or Appointment of
                                         Attorney/Domestic Representative
To the Commissioner for Trademarks:
MARK: Design only
SERIAL NUMBER: 77809223
ATTORNEY DOCKET NUMBER 29985-



Original Correspondence Address :
LOIS B. DUQUETTE
THE HERSHEY COMPANY
100 CRYSTAL A DR
HERSHEY, PA 17033-9524
717-534-7911
717-534-7549
lduquette@hersheys.com


By submission of this request, the undersigned hereby APPOINTS the following new attorney. In addition, any additional previously-appointed
attorneys that are currently listed in the application are replaced with the new "Other Appointed Attorneys" listed below.

Newly Appointed Attorney:
Paul Llewellyn
Kaye Scholer LLP
425 Park Avenue
New York, New York 10022
United States
2128367828
2128366463
29985-

Other Appointed Attorneys:

John P. Rynkiewicz, Victoria haje, Mark Godler

The following is to be used as the correspondence address:
Paul Llewellyn
Kaye Scholer LLP
425 Park Avenue
New York, New York 10022
United States

2128367828
2128366463 The attorney docket/reference number is 29985-.



Signature: /Lois B. Duquette/ Date: 11/15/2010
Signatory's Name: Lois B. Duquette
Signatory's Position: Assistant Secretary

Serial Number: 77809223
Internet Transmission Date: Mon Nov 15 18:16:19 EST 2010
TEAS Stamp: USPTO/RAA-XXX.XXX.XX.X-20101115181619532
494-77809223-4701c22ebc69ba6322c12b22fd2


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                                                             35327

To:                    Hershey Chocolate & Confectionery Corpor ETC. (lduquette@hersheys.com)
Subject:               U.S. TRADEMARK APPLICATION NO. 77809223 - N/A
Sent:                  5/28/2010 10:47:53 AM
Sent As:               ECOM116@USPTO.GOV
Attachments:

                                    UNITED STATES PATENT AND TRADEMARK OFFICE

                   SERIAL NO:          77809223

                   MARK:
                                                                                  *77809223*
                   CORRESPONDENT ADDRESS:
                     LOIS B. DUQUETTE                                             RESPOND TO THIS ACTION:
                     THE HERSHEY COMPANY                                          http://www.uspto.gov/teas/eTEASpageD.htm
                     100 CRYSTAL A DR
                     HERSHEY, PA 17033-9524                                       GENERAL TRADEMARK INFORMATION:
                                                                                  http://www.uspto.gov/main/trademarks.htm


                  APPLICANT:            Hershey Chocolate & Confectionery
                Corpor ETC.

                   CORRESPONDENT’S REFERENCE/DOCKET NO :
                     N/A
                   CORRESPONDENT E-MAIL ADDRESS:
                     lduquette@hersheys.com



                                                               OFFICE ACTION

TO AVOID ABANDONMENT, THE OFFICE MUST RECEIVE A PROPER RESPONSE TO THIS OFFICE ACTION WITHIN 6 MONTHS
OF THE ISSUE/MAILING DATE.

ISSUE/MAILING DATE: 5/28/2010


This letter responds to the applicant’s correspondence dated May 3, 2010.

The applicant (1) argued against the refusal to register the mark under Section 2(e)(5) as a functional design; (2) argued against the refusal to
register the mark under Trademark Act Sections 1, 2 and 45 as a non-distinctive configuration of goods; (3) proposed amending the application to
seek registration under Section 2(f), acquired distinctiveness; (4) amended the description of the mark; and, (5) submitted information regarding
the goods. Nos. 4 and 5 are accepted and made part of the record. No. 3 has raised a new issue.

The refusal to register the mark under Section 2(e)(5) as a functional design, and the refusal to register the mark under Trademark Act Sections 1,
2 and 45 as a non-distinctive configuration of goods, are maintained and continued.

NEW ISSUE – INSUFFICIENT EVIDENCE TO ESTABLISH ACQUIRED DISTINCTIVENESS

With regard to the refusal to register the mark under Trademark Act Sections 1, 2 and 45 as a non-distinctive configuration of goods, the
applicant has proposed amending the application to seek registration on the Principal Register under Section 2(f), acquired distinctiveness. The
applicant has based this claim upon (1) length of use; (2) ownership of a prior registration; (3) sales and advertising; and, (4) public recognition.

In this case, the applicant has failed to meet the burden of proving that the mark has acquired distinctiveness.



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The burden of proving that a mark has acquired distinctiveness is on the applicant. Yamaha Int’l Corp. v. Yoshino Gakki Co. , 840 F.2d 1572, 6
USPQ2d 1001, 1004 (Fed. Cir. 1988); In re Meyer & Wenthe, Inc., 267 F.2d 945, 122 USPQ 372 (C.C.P.A. 1959); TMEP §1212.01. An
applicant must establish that the purchasing public has come to view the proposed mark as an indicator of origin.

Because the applicant’s proposed mark is a variation of a very common feature of candy bars, namely, shaping the candy bars so that they may
be broken into equal sized pieces, the allegation of five years’ use and the claim of ownership of a prior registration are insufficient to show
acquired distinctiveness. In re Kalmbach Publ’g Co. , 14 USPQ2d 1490 (TTAB 1989); In re Loew’s Theatres, Inc. , 769 F.2d 764, 226 USPQ
865, 869 (Fed. Cir. 1985); TMEP §§1212.04(a) & 1212.05(a). Additional evidence is needed.

Applicant’s allegations of sales and advertising expenditures do not per se establish that a term has acquired significance as a mark. Applicant
also provided some actual advertising material so that the examining attorney can determine how the term is used, the commercial impression
created by such use, and the significance the term would have to prospective purchasers. TMEP §1212.06(b); see In re Boston Beer Co., 198
F.3d 1370, 53 USPQ2d 1056 (Fed. Cir. 1999); In re Packaging Specialists, Inc., 221 USPQ 917, 920 (TTAB 1984). In this case, there is little or
nothing about the advertising that causes the configuration of the candy bars to create any commercial impression.

The ultimate test in determining acquisition of distinctiveness under Trademark Act Section 2(f) is not applicant’s efforts, but applicant’s
success in educating the public to associate the claimed mark with a single source. TMEP §1212.06(b); see In re Packaging Specialists, 221
USPQ at 920; In re Redken Labs., Inc., 170 USPQ 526 (TTAB 1971).

Applicant’s response also discusses public recognition wherein it provides, in part, “ attention is directed to the article located at
http://bakingbites.com/2009/01/chocolate-bar-brownie-pan, which discusses brownie pans sold by Williams Sonoma, which touts the public
recognition of the shape of the pans as one that looks like applicant's configuration trademark. The text reads, "Whether you're a fan of
Hershey's chocolate bars or not, it's design is undeniably a classic confectionery icon." This same recognition is found on the website located at
http://www.chocolateysprinkles.com/2009/06/01/williams-sonoma/ with the following comment about the "chocolate bar brownie pan" that "It's
like a Hershey's bar with individual brownies." Printouts of the relevant text from these sites are attached herewith.” However, these articles
were not attached to the response and, thus, this proposed evidence is not of record.

As noted above, an applicant bears the burden of proving that a mark has acquired distinctiveness. See Yamaha Int’l Corp. v. Hoshino Gakki
Co., 840 F.2d 1572, 1578-79, 6 USPQ2d 1001, 1006 (Fed. Cir. 1988); In re Meyer & Wenthe, Inc., 267 F.2d 945, 949, 122 USPQ 372, 374-75
(C.C.P.A. 1959); TMEP §1212.01.

Applicant can present any additional competent evidence to establish that a mark has acquired distinctiveness. The amount and type of evidence
required to establish acquired distinctiveness depends on the facts of each case and particularly on the nature of the mark sought to be registered.
See In re Owens-Corning Fiberglas Corp., 774 F.2d 1116, 1125, 227 USPQ 417, 422 (Fed. Cir. 1985); TMEP §1212.01.

TEAS PLUS APPLICANTS MUST SUBMIT DOCUMENTS ELECTRONICALLY OR SUBMIT FEE: Applicants who filed their
application online using the reduced-fee TEAS Plus application must continue to submit certain documents online using TEAS, including
responses to Office actions. See 37 C.F.R. §2.23(a)(1). For a complete list of these documents, see TMEP §819.02(b). In addition, such
applicants must accept correspondence from the Office via e-mail throughout the examination process and must maintain a valid e-mail address.
37 C.F.R. §2.23(a)(2); TMEP §§819, 819.02(a). TEAS Plus applicants who do not meet these requirements must submit an additional fee of $50
per international class of goods and/or services. 37 C.F.R. §2.6(a)(1)(iv); TMEP §819.04. In appropriate situations and where all issues can be
resolved by amendment, responding by telephone to authorize an examiner’s amendment will not incur this additional fee.




                                              /John Dwyer/
                                              Examining Attorney
                                              Law Office 116
                                              Telephone 571-272-9155
                                              Facsimile 571-273-9116



RESPOND TO THIS ACTION: Applicant should file a response to this Office action online using the form at
http://www.uspto.gov/teas/eTEASpageD.htm, waiting 48-72 hours if applicant received notification of the Office action via e-mail. For
technical assistance with the form, please e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
examining attorney. Do not respond to this Office action by e-mail; the USPTO does not accept e-mailed responses.

If responding by paper mail, please include the following information: the application serial number, the mark, the filing date and the name,

                                                                                                                                  119258
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title/position, telephone number and e-mail address of the person signing the response. Please use the following address: Commissioner for
Trademarks, P.O. Box 1451, Alexandria, VA 22313-1451.

STATUS CHECK: Check the status of the application at least once every six months from the initial filing date using the USPTO Trademark
Applications and Registrations Retrieval (TARR) online system at http://tarr.uspto.gov. When conducting an online status check, print and
maintain a copy of the complete TARR screen. If the status of your application has not changed for more than six months, please contact the
assigned examining attorney.




                                                                                                                              119259
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                                                          35330

To:                   Hershey Chocolate & Confectionery Corpor ETC. (lduquette@hersheys.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 77809223 - N/A
Sent:                 5/28/2010 10:47:56 AM
Sent As:              ECOM116@USPTO.GOV
Attachments:



              IMPORTANT NOTICE REGARDING YOUR TRADEMARK APPLICATION

Your trademark application (Serial No. 77809223) has been reviewed. The examining attorney assigned by the
United States Patent and Trademark Office (“USPTO”) has written a letter (an “Office action”) on 5/28/2010 to
which you must respond (unless the Office letter specifically states that no response is required). Please follow these
steps:

1.         Read           the          Office      letter         by          clicking          on            this           link
http://tmportal.uspto.gov/external/portal/tow?DDA=Y&serial_number=77809223&doc_type=OOA&mail_date=20100528 OR go to
http://tmportal.uspto.gov/external/portal/tow and enter your serial number to access the Office letter. If you have difficulty accessing the
Office letter, contact TDR@uspto.gov.

PLEASE NOTE: The Office letter may not be immediately available but will be viewable within 24 hours of this e-mail notification.

2. Contact the examining attorney who reviewed your application if you have any questions about the content of the Office letter (contact
information appears at the end thereof).

3. Respond within 6 months, calculated from 5/28/2010 (or sooner if specified in the Office letter), using the Trademark Electronic Application
System (TEAS) Response to Office Action form. If you have difficulty using TEAS, contact TEAS@uspto.gov.

                                                                     ALERT:

Failure to file any required response by the applicable deadline will result in the ABANDONMENT (loss) of your application.

Do NOT hit “Reply” to this e-mail notification, or otherwise attempt to e-mail your response, as the USPTO does NOT accept e-mailed
responses.




                                                                                                                             119260
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                                                             35331

                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                          (Table presents the data on Amendment & Mail Processing Complete)


                                                                   OVERVIEW

SERIAL NUMBER                                      77809223                FILING DATE                                   08/20/2009

REG NUMBER                                          0000000                REG DATE                                         N/A

REGISTER                                           PRINCIPAL               MARK TYPE                                    TRADEMARK

INTL REG #                                                N/A              INTL REG DATE                                    N/A

TM ATTORNEY                                      DWYER, JOHN D             L.O. ASSIGNED                                    116



                                                                PUB INFORMATION

RUN DATE                            05/04/2010

PUB DATE                            N/A

STATUS                              661-RESPONSE AFTER NON-FINAL-ACTION-ENTERED

STATUS DATE                         05/03/2010

LITERAL MARK ELEMENT



DATE ABANDONED                                            N/A              DATE CANCELLED                                   N/A

SECTION 2F                                              YES                SECTION 2F IN PART                               NO

SECTION 8                                                 NO               SECTION 8 IN PART                                NO

SECTION 15                                                NO               REPUB 12C                                        N/A

RENEWAL FILED                                             NO               RENEWAL DATE                                     N/A

DATE AMEND REG                                            N/A



                                                                  FILING BASIS

                 FILED BASIS                                      CURRENT BASIS                                   AMENDED BASIS

1 (a)                          YES                1 (a)                               YES              1 (a)                      NO

1 (b)                          NO                 1 (b)                               NO               1 (b)                      NO

44D                            NO                 44D                                 NO               44D                        NO

44E                            NO                 44E                                 NO               44E                        NO

66A                            NO                 66A                                 NO

NO BASIS                       NO                 NO BASIS                            NO



                                                                  MARK DATA

STANDARD CHARACTER MARK                                                    NO

LITERAL MARK ELEMENT

MARK DRAWING CODE                                                          2-AN ILLUSTRATION DRAWING WITHOUT ANY
                                                                           WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                         NO



                                                     CURRENT OWNER INFORMATION




                                                                                                                              119261
         Case 4:19-cv-00358-ALM         Document 789-3 Filed 03/26/25                               Page 58 of 112 PageID #:
                                                   35332
PARTY TYPE                                                       10-ORIGINAL APPLICANT

NAME                                                             Hershey Chocolate & Confectionery Corporation

ADDRESS                                                          4860 Robb Street, Suite 204
                                                                 Wheat Ridge, CO 80033

ENTITY                                                           03-CORPORATION

CITIZENSHIP                                                      Delaware



                                                  GOODS AND SERVICES

INTERNATIONAL CLASS                                              030

       DESCRIPTION TEXT                                          Candy; Chocolate




                                       GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     030         FIRST USE DATE   12/31/1968        FIRST USE IN          12/31/1968            CLASS STATUS       6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                    MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                           NO

COLORS CLAIMED STATEMENT                                         Color is not claimed as a feature of the mark.

DESCRIPTION OF MARK                                              The mark consists of twelve (12) equally-sized recessed rectangular panels arranged
                                                                 in a four panel by three panel format with each panel having its own raised border
                                                                 within a large rectangle.

OWNER OF US REG NOS                                              3668662



                                                 PROSECUTION HISTORY

DATE                       ENT CD     ENT TYPE     DESCRIPTION                                                                         ENT NUM

05/03/2010                 TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                      010

05/03/2010                 CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                  009

05/03/2010                 TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                008

11/24/2009                 GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                                              007

11/24/2009                 GNRT          F         NON-FINAL ACTION E-MAILED                                                              006

11/24/2009                 CNRT          R         NON-FINAL ACTION WRITTEN                                                               005

11/17/2009                 DOCK          D         ASSIGNED TO EXAMINER                                                                   004

08/25/2009                 MDSC          O         NOTICE OF DESIGN SEARCH CODE MAILED                                                    003

08/24/2009                 NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                   002

08/24/2009                 NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                        001



                                    CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                         NONE

CORRESPONDENCE ADDRESS                                           LOIS B. DUQUETTE
                                                                 THE HERSHEY COMPANY
                                                                 100 CRYSTAL A DR
                                                                 HERSHEY, PA 17033-9524

DOMESTIC REPRESENTATIVE                                          NONE




                                                                                                                                119262
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PTO Form 1957 (Rev 9/2005)
OMB No. 0651-0050 (Exp. 04/30/2011)


                                                          Response to Office Action


                                                    The table below presents the data as entered.

                             Input Field                                                          Entered
 SERIAL NUMBER                                        77809223
 LAW OFFICE ASSIGNED                                  LAW OFFICE 116
 MARK SECTION (no change)
 ARGUMENT(S)
           IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

 In re application of                                                :

 HERSHEY CHOCOLATE & CONFECTIONERY                                   :        John Dwyer
 CORPORATION                                                                 Trademark Attorney
                                                                 :           Law Office 116
 Ser. No. 77/809,223

 Filing Date: August 20, 2009                                            :

 International Class: 30                                    :

 Mark: Miscellaneous Design (Recessed Rectangular Panels):

                                      RESPONSE TO OFFICIAL ACTION

         This is in response to the official action dated November 24, 2009.
 NO CONFLICTING MARKS
         The applicant takes note of the fact that the examining attorney's search of the Office's database of registered and pending marks found
 no conflicting marks that would bar registration.
 DESCRIPTION OF MARK
         Please amend the description of the mark to the following:
         The mark is a configuration of a candy bar that consists of twelve (12) equally-sized recessed rectangular panels arranged in a four
 panel by three panel format with each panel having its own raised border within a large rectangle.
 REMARKS
         The examining attorney has refused registration on the ground that this three-dimensional product design configuration is functional for
 the identified goods
 under Trademark Act Section 2(e)(5), 15 U.S.C. § 1052(e) (5), and on the ground that the proposed mark consists of a non-distinctive product
 design, and thus does not function as a mark under Trademark Act Sections 1, 2 and 45, 15 U.S.C. §§ 1051, 1052 and 1127.
         Applicant disagrees with the examining attorney's conclusion and requests reconsideration. The examining attorney has not, but
 should, take into consideration the mark as a whole - the decorative design aspects of the mark clearly leads one to the conclusion that the
 mark is distinctive and nonfunctional. It has been held to be a violation of the anti-dissection rule to focus upon one feature of a mark,
 ignoring all other elements of the mark. Massey Junior College, Inc. v. Fashion Institute of Technology, 492 F.2d 1399, 181 USPQ 272 (CCPA
 1981).
 FUNCTIONALITY
         The applicant's trademark is not functional. It is not essential to the use or purpose of the product. Its only function is to act as a
 source identifier. The evidence shows that applicant's specific product design provides no real utilitarian advantages to the user, but is one of
 many equally feasible, efficient and competitive designs. As a result, it is registrable.
         Does the applied-for mark consist of a functional configuration for candy and chocolate? This determination is a question of fact,
 which depends upon the totality of the evidence presented in each particular case. TrafFix Devices, Inc. v. Marketing Displays, Inc., 532 U.S.
 23, 58 USPQ2d 1001, 1005 (2001). See also In re Morton-Norwich Products, Inc., 671 F.2d 1332, 213 USPQ 9 (CCPA 1982); In re American
  National Can Co., 41 USPQ2d 1841 (TTAB 1997); In re Honeywell Inc., 8 USPQ2d 1600 (TTAB 1988); and In re Weber-Stephen Products
 Co., 3 USPQ2d 1659 (TTAB 1987).

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         The factors set out in the Morton-Norwich analysis of the issue of functionality, which we will address individually, are still
controlling, namely, 1) the existence of a utility patent that discloses the utilitarian advantages of the design sought to be registered; 2) any
advertising by the applicant that touts the utilitarian advantages of the design; 3) facts pertaining to the availability of alternative designs; and
4) facts pertaining to whether the design results from a comparatively simple or inexpensive method of manufacture.
         1) THE EXISTENCE OF A UTILITY OR DESIGN PATENT
         Applicant does not own a utility or design patent or patent application, including expired patent and abandoned patent applications for
the applied-for-mark. Under this Morton-Norwich factor, the applied-for-mark is not functional.
         2) ADVERTISING BY APPLICANT THAT TOUTS ANY UTILITARIAN ADVANTAGES OF THE DESIGN
         Applicant does not and has not distributed any advertising materials that promote the applied-for-mark as having any utilitarian
advantages over any other configuration design. Applicant's mark is used solely as a source indicator and does not have any utilitarian purpose
that shows its product has a particular shape because it works better in that shape. For that matter, Applicant produces and sells candy and
chocolates in many different and well known shapes such as its famous HERSHEY'S KISSES candies and its REESE'S candies. There is
nothing in the record to support a refusal of applicant's design under this Morton-Norwich factor.
         3) AVAILABILITY OF ALTERNATIVE DESIGNS
         The third factor of the Morton-Norwich test considers the availability to competitors of feasible alternative designs - i.e., whether the
product design configuration is superior to other designs. When confronted with a novel configuration trademark, the decision-maker is
compelled to focus upon whether exclusive use of this claimed feature "would put competitors at a significant non-reputation based
disadvantage. Qualitex Co. v. Jacobson Prods. Co. 514 U.S. 159, 165, 34 uspq2d 1161, 1164 (1995). There is nothing in the record to support
a refusal of applicant's design under this Morton-Norwich factor.
         In fact, the research conducted by the examining attorney and the evidence that he uncovered clearly points to the conclusion that
applicant's configuration is unique and stands apart from the numerous examples of shapes and sizes that are available to its competitors.
None of the competitor examples identified by the examining attorney embodies the same features or combination of features as applicant's
configuration. The "Ritter Sport Milk Chocolate with Whole Hazelnuts" comes in a square shaped, molded milk chocolate bar with 16 small
square segments - each embossed with the Ritter Sport logo. "Starz Nougat Praline" is a solid molded bar with six segments. Dagoba Organic
Chocolate is a 10-segment molded chocolate bar. Kingsbury Chocolates Nib is a 28 segment molded bar. None of these configurations are
similar to the applicant's distinctive configuration, which consists of a specific design of twelve raised segments oriented in a 3x4 rectangular
grid in a particular, with each segment's dimensions of similar proportions to the proportions of the overall rectangular grid. To the contrary,
these examples and numerous other chocolate bars are offered with (1) different overall shapes; (2) a different number of segments; (3) a
different layout of segments (i.e. 4x4, 2x3, etc.); (4) segments and/or bar shapes of different proportions; and/or (5) no segments at all.
Moreover, the lack of any similar competing designs in the record suggests that the applied-for design is not functional.
         Candy and chocolates come in numerous shapes (squares, circles, cones, rectangles, triangles). The possibilities are endless. These
shapes come with any number of fanciful markings and indentations. As a matter of fact, candies and chocolates can be eaten in any size bite.
It all depends on the person lucky enough to be eating them.
         After analyzing the Morton-Norwich factors, it is clear that applicant's configuration product design mark is not functional.
ACQUIRED DISTINCTIVENESS - SECTION 2(f)
Applicant has requested amendment of this application to Section 2(f) on the Principal Register. Applicant's mark has acquired distinctiveness
as a source indicator for the applicant's goods in commerce. Applicant's three-dimensional mark comprises a distinctive product design.
A term (or design) may, through usage by one producer with reference to his product, acquire a special significance so that to the consuming
public the term has come to mean that that particular manufacturer produces the product. 1 Nims, Unfair Competition and Trademarks at §37
(1947). The primary significance of the distinctive product design in the minds of the consuming public is the fact that the applicant is the
source of the product.
The ultimate test in determining whether a designation has acquired distinctiveness is applicant's success, rather than its efforts, in educating
the public to associate the proposed mark with a single source. Public association of a trademark with a certain source and quality of goods is
most often achieved through the dual channels of actual sales and advertising. The applicant has spent a considerable amount on nationwide
advertising, which has resulted in a considerable volume of sales to its consumers. This extensive advertising has resulted in creating
secondary meaning in, not only its buyers' minds, but in the mind of the general public. Because the applicant has featured its distinctive mark
as an important trademark in its advertising, it is a logical inference that buyers and viewers of the advertising have come to associate the
trademark with applicant. In re Data Packaging Corp., 453 F.2d 1300, 172 USPQ 396 (CCPA 1972).
In order to meet its prima facie burden on the non-distinctiveness refusal, the U.S. Patent and Trademark Office must, at a minimum, set forth
a "reasonable predicate" for its position of non-distinctiveness. In re Pacer Technology, 338 F.3d 1348, 67 USPQ2D 1629, 1632 (Fed. Cir.
2003). The Trademark Examining Attorney has not met this burden. There is no evidence that any third parties are using similarly-shaped
configurations. There are significant differences between each of the examples made of record by the examining attorney with applicant's
distinctive product design.
In support of the applicant's claim of acquired distinctiveness, you will find the attached Declaration by Lois B. Duquette, who offers the
following evidence:
         1) the applied-for design has been in use by Hershey since 1968;
         2) sales of products identified by this distinct trademark have exceeded four billion dollars in the past twelve years; and
         3) applicant's licensee has spent in excess of 186 million dollars in advertising materials in the past twenty-four years, which may be
             found in national publications and over the television airwaves, which promote the applicant's distinctive product configuration.
To establish secondary meaning, an applicant must show that, in the minds of the public, the primary significance of a product feature or term
is to identify the source of the product rather than the product itself." Inwood Laboratories, Inc. v. Ives Laboratories, Inc., 456 U.S. 844, 851 N.


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11, 214 USPQ 1, 4 n. 11 (1982). The issue is whether acquired distinctiveness of the mark in relation to the goods or services has in fact been
established in the minds of the purchasing public. In re Reden Laboratories, Inc., 170 USPQ 526(TTAB 1971); In re Fleet-Wing Corp., 122
USPQ 335 (TTAB 1959). The public at large, not only applicant's customers, recognize that applicant is the sole source for obtaining products
with this distinctive trademark. To this end, attention is directed to the article located at http://bakingbites.com/2009/01/chocolate-bar-
brownie-pan, which discusses brownie pans sold by Williams Sonoma, which touts the public recognition of the shape of the pans as one that
looks like applicant's configuration trademark. The text reads, "Whether you're a fan of Hershey's chocolate bars or not, it's design is
undeniably a classic confectionery icon." This same recognition is found on the website located at
http://www.chocolateysprinkles.com/2009/06/01/williams-sonoma/ with the following comment about the "chocolate bar brownie pan" that
"It's like a Hershey's bar with individual brownies." Printouts of the relevant text from these sites are attached herewith. It is noted that
applicant's famous HERSHEY'S trademark does not appear on the pans; rather, applicant's distinctive product design configuration alone leads
consumers to recognize applicant's famous chocolate bar design.
The applicant has established by this substantial evidence that the subject trademark has acquired distinctiveness as an indicator of source.
Because the applicant has provided sufficient evidence to support its claim of acquired distinctiveness to successfully amend this application to
Section 2(f), the configuration and functionality refusals should be withdrawn.
CONCLUSION

       Applicant respectfully requests acceptance of the amendment of this application to Section 2(f) of the Principal Register, withdrawal of
the functionality refusal, and approval for publication as soon as possible.



EVIDENCE SECTION
    EVIDENCE FILE NAME(S)

   ORIGINAL PDF FILE                           evi_168133237-143518912_._Affadavit_LBD_Misc._Design_Recessed_Rectangular_Panels.pdf
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                                               Affidavit of Lois B. Duquette with exhibits story boards showing promotion of design and third
DESCRIPTION OF EVIDENCE FILE
                                               party chocolate bar configurations
ADDITIONAL STATEMENTS SECTION


                                                                                                                                119266
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                                 The mark has become distinctive of the goods/services, as demonstrated by the attached
SECTION 2(f) BASED ON EVIDENCE
                                 evidence.
   2(f) EVIDENCE FILE NAME(S)

   ORIGINAL PDF FILE             e2f-168133237-143518912_._Affadavit_LBD_Misc._Design_Recessed_Rectangular_Panels.pdf
   CONVERTED PDF FILE(S)
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   (18 pages)

                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0021.JPG
                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0022.JPG
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                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0024.JPG
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                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0027.JPG
                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0028.JPG
                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0029.JPG
                                 \\TICRS\EXPORT10\IMAGEOUT10\778\092\77809223\xml1\ROA0030.JPG
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                                 The mark has become distinctive of the goods/services through the applicant's substantially
SECTION 2(f)                     exclusive and continuous use in commerce for at least the five years immediately before the date
                                 of this statement.
SIGNATURE SECTION
DECLARATION SIGNATURE            /Lois B. Duquette/
SIGNATORY'S NAME                 Lois B. Duquette
SIGNATORY'S POSITION             Assistant Secretary, Attorney of record, PA State bar member
DATE SIGNED                      05/03/2010
RESPONSE SIGNATURE               /Lois B. Duquette/
SIGNATORY'S NAME                 Lois B. Duquette
SIGNATORY'S POSITION             Assistant Secretary, Attorney of Record, PA state bar member
DATE SIGNED                      05/03/2010
AUTHORIZED SIGNATORY             YES
FILING INFORMATION SECTION
SUBMIT DATE                      Mon May 03 14:54:56 EDT 2010
                                 USPTO/ROA-XXX.XXX.X.XX-20


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                                                       0503143518912460




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OMB No. 0651-0050 (Exp. 04/30/2011)



                                                                Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 77809223 has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

         IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re application of                                                  :

HERSHEY CHOCOLATE & CONFECTIONERY                                     :        John Dwyer
CORPORATION                                                                   Trademark Attorney
                                                                  :           Law Office 116
Ser. No. 77/809,223

Filing Date: August 20, 2009                                              :

International Class: 30                                     :

Mark: Miscellaneous Design (Recessed Rectangular Panels):

                                      RESPONSE TO OFFICIAL ACTION

        This is in response to the official action dated November 24, 2009.
NO CONFLICTING MARKS
        The applicant takes note of the fact that the examining attorney's search of the Office's database of registered and pending marks found no
conflicting marks that would bar registration.
DESCRIPTION OF MARK
        Please amend the description of the mark to the following:
        The mark is a configuration of a candy bar that consists of twelve (12) equally-sized recessed rectangular panels arranged in a four panel
by three panel format with each panel having its own raised border within a large rectangle.
REMARKS
        The examining attorney has refused registration on the ground that this three-dimensional product design configuration is functional for
the identified goods
under Trademark Act Section 2(e)(5), 15 U.S.C. § 1052(e) (5), and on the ground that the proposed mark consists of a non-distinctive product
design, and thus does not function as a mark under Trademark Act Sections 1, 2 and 45, 15 U.S.C. §§ 1051, 1052 and 1127.
        Applicant disagrees with the examining attorney's conclusion and requests reconsideration. The examining attorney has not, but should,
take into consideration the mark as a whole - the decorative design aspects of the mark clearly leads one to the conclusion that the mark is
distinctive and nonfunctional. It has been held to be a violation of the anti-dissection rule to focus upon one feature of a mark, ignoring all other
elements of the mark. Massey Junior College, Inc. v. Fashion Institute of Technology, 492 F.2d 1399, 181 USPQ 272 (CCPA 1981).
FUNCTIONALITY
        The applicant's trademark is not functional. It is not essential to the use or purpose of the product. Its only function is to act as a source
identifier. The evidence shows that applicant's specific product design provides no real utilitarian advantages to the user, but is one of many
equally feasible, efficient and competitive designs. As a result, it is registrable.
        Does the applied-for mark consist of a functional configuration for candy and chocolate? This determination is a question of fact, which
depends upon the totality of the evidence presented in each particular case. TrafFix Devices, Inc. v. Marketing Displays, Inc., 532 U.S. 23, 58
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Can Co., 41 USPQ2d 1841 (TTAB 1997); In re Honeywell Inc., 8 USPQ2d 1600 (TTAB 1988); and In re Weber-Stephen Products Co., 3
USPQ2d 1659 (TTAB 1987).
        The factors set out in the Morton-Norwich analysis of the issue of functionality, which we will address individually, are still controlling,
namely, 1) the existence of a utility patent that discloses the utilitarian advantages of the design sought to be registered; 2) any advertising by the
applicant that touts the utilitarian advantages of the design; 3) facts pertaining to the availability of alternative designs; and 4) facts pertaining to
whether the design results from a comparatively simple or inexpensive method of manufacture.
         1) THE EXISTENCE OF A UTILITY OR DESIGN PATENT
         Applicant does not own a utility or design patent or patent application, including expired patent and abandoned patent applications for the
applied-for-mark. Under this Morton-Norwich factor, the applied-for-mark is not functional.
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         Applicant does not and has not distributed any advertising materials that promote the applied-for-mark as having any utilitarian
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that shows its product has a particular shape because it works better in that shape. For that matter, Applicant produces and sells candy and
chocolates in many different and well known shapes such as its famous HERSHEY'S KISSES candies and its REESE'S candies. There is nothing
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layout of segments (i.e. 4x4, 2x3, etc.); (4) segments and/or bar shapes of different proportions; and/or (5) no segments at all. Moreover, the lack
of any similar competing designs in the record suggests that the applied-for design is not functional.
         Candy and chocolates come in numerous shapes (squares, circles, cones, rectangles, triangles). The possibilities are endless. These
shapes come with any number of fanciful markings and indentations. As a matter of fact, candies and chocolates can be eaten in any size bite. It
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To establish secondary meaning, an applicant must show that, in the minds of the public, the primary significance of a product feature or term is
to identify the source of the product rather than the product itself." Inwood Laboratories, Inc. v. Ives Laboratories, Inc., 456 U.S. 844, 851 N. 11,
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of the relevant text from these sites are attached herewith. It is noted that applicant's famous HERSHEY'S trademark does not appear on the
pans; rather, applicant's distinctive product design configuration alone leads consumers to recognize applicant's famous chocolate bar design.
The applicant has established by this substantial evidence that the subject trademark has acquired distinctiveness as an indicator of source.
Because the applicant has provided sufficient evidence to support its claim of acquired distinctiveness to successfully amend this application to
Section 2(f), the configuration and functionality refusals should be withdrawn.
CONCLUSION

       Applicant respectfully requests acceptance of the amendment of this application to Section 2(f) of the Principal Register, withdrawal of
the functionality refusal, and approval for publication as soon as possible.




EVIDENCE
Evidence in the nature of Affidavit of Lois B. Duquette with exhibits story boards showing promotion of design and third party chocolate bar
configurations has been attached.
Original PDF file:
evi_168133237-143518912_._Affadavit_LBD_Misc._Design_Recessed_Rectangular_Panels.pdf
Converted PDF file(s) (18 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Evidence-17
Evidence-18

ADDITIONAL STATEMENTS
Section 2(f), based on Evidence
The mark has become distinctive of the goods/services, as demonstrated by the attached evidence.
Original PDF file:
e2f-168133237-143518912_._Affadavit_LBD_Misc._Design_Recessed_Rectangular_Panels.pdf
Converted PDF file(s) (18 pages)
2(f) evidence-1
2(f) evidence-2
2(f) evidence-3
2(f) evidence-4
2(f) evidence-5

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2(f) evidence-6
2(f) evidence-7
2(f) evidence-8
2(f) evidence-9
2(f) evidence-10
2(f) evidence-11
2(f) evidence-12
2(f) evidence-13
2(f) evidence-14
2(f) evidence-15
2(f) evidence-16
2(f) evidence-17
2(f) evidence-18

Section 2(f), based on Use
The mark has become distinctive of the goods/services through the applicant's substantially exclusive and continuous use in commerce for at least
the five years immediately before the date of this statement.

SIGNATURE(S)
Declaration Signature
If the applicant is seeking registration under Section 1(b) and/or Section 44 of the Trademark Act, the applicant has had a bona fide intention to
use or use through the applicant's related company or licensee the mark in commerce on or in connection with the identified goods and/or
services as of the filing date of the application. 37 C.F.R. Secs. 2.34(a)(2)(i); 2.34 (a)(3)(i); and 2.34(a)(4)(ii); and/or the applicant has had a bona
fide intention to exercise legitimate control over the use of the mark in commerce by its members. 37 C.F. R. Sec. 2.44. If the applicant is seeking
registration under Section 1(a) of the Trademark Act, the mark was in use in commerce on or in connection with the goods and/or services listed
in the application as of the application filing date or as of the date of any submitted allegation of use. 37 C.F.R. Secs. 2.34(a)(1)(i); and/or the
applicant has exercised legitimate control over the use of the mark in commerce by its members. 37 C.F.R. Sec. 244. The undersigned, being
hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under 18 U.S.C. Section1001,
and that such willful false statements may jeopardize the validity of the application or any resulting registration, declares that he/she is properly
authorized to execute this application on behalf of the applicant; he/she believes the applicant to be the owner of the trademark/service mark
sought to be registered, or, if the application is being filed under 15 U.S.C. Section1051(b), he/she believes applicant to be entitled to use such
mark in commerce; to the best of his/her knowledge and belief no other person, firm, corporation, or association has the right to use the mark in
commerce, either in the identical form thereof or in such near resemblance thereto as to be likely, when used on or in connection with the
goods/services of such other person, to cause confusion, or to cause mistake, or to deceive; that if the original application was submitted
unsigned, that all statements in the original application and this submission made of the declaration signer's knowledge are true; and all
statements in the original application and this submission made on information and belief are believed to be true.

Signature: /Lois B. Duquette/ Date: 05/03/2010
Signatory's Name: Lois B. Duquette
Signatory's Position: Assistant Secretary, Attorney of record, PA State bar member

Response Signature
Signature: /Lois B. Duquette/ Date: 05/03/2010
Signatory's Name: Lois B. Duquette
Signatory's Position: Assistant Secretary, Attorney of Record, PA state bar member

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the applicant's attorney or an
associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent not
currently associated with his/her company/firm previously represented the applicant in this matter: (1) the applicant has filed or is concurrently
filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior representative to
withdraw; (3) the applicant has filed a power of attorney appointing him/her in this matter; or (4) the applicant's appointed U.S. attorney or
Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 77809223
Internet Transmission Date: Mon May 03 14:54:56 EDT 2010
TEAS Stamp: USPTO/ROA-XXX.XXX.X.XX-20100503145456993
827-77809223-460bd969e2e28023498afb65d08
546e934-N/A-N/A-20100503143518912460


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                                               #: 35379

To:             Hershey Chocolate & Confectionery Corpor ETC. (lduquette@hersheys.com)
Subject:        U.S. TRADEMARK APPLICATION NO. 77809223 - N/A
Sent:           11/24/2009 11:05:39 AM
Sent As:        ECOM116@USPTO.GOV
Attachments:    Attachment - 1
                Attachment - 2
                Attachment - 3
                Attachment - 4
                Attachment - 5
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                     Attachment - 56
                     Attachment - 57
                     Attachment - 58

                                 UNITED STATES PATENT AND TRADEMARK OFFICE

                 SERIAL NO:         77/809223

                 MARK:
                                                                            *77809223*
                 CORRESPONDENT ADDRESS:
                   LOIS B. DUQUETTE                                         RESPOND TO THIS ACTION:
                   THE HERSHEY COMPANY                                      http://www.uspto.gov/teas/eTEASpageD.htm
                   100 CRYSTAL A DR
                   HERSHEY, PA 17033-9524                                   GENERAL TRADEMARK INFORMATION:
                                                                            http://www.uspto.gov/main/trademarks.htm


                 APPLICANT:          Hershey Chocolate & Confectionery
               Corpor ETC.

                 CORRESPONDENT’S REFERENCE/DOCKET NO :
                   N/A
                 CORRESPONDENT E-MAIL ADDRESS:
                   lduquette@hersheys.com



                                                           OFFICE ACTION

TO AVOID ABANDONMENT, THE OFFICE MUST RECEIVE A PROPER RESPONSE TO THIS OFFICE ACTION WITHIN 6 MONTHS
OF THE ISSUE/MAILING DATE.

ISSUE/MAILING DATE: 11/24/2009


 The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

SEARCH OF OFFICE’S DATABASE OF MARKS

The trademark examining attorney has searched the Office’s database of registered and pending marks and has found no conflicting marks that
would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).

FUNCTIONAL



                                                                                                                          119310
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Registration is refused because the applied-for mark, which consists of a three-dimensional configuration of the goods, appears to be a functional
design for such goods. Trademark Act Section 2(e)(5), 15 U.S.C. §1052(e)(5); see TMEP §1202.02(a)-(a)(ii). A feature is functional if it is
“essential to the use or purpose of the [product]” or “it affects the cost or quality of the [product].” TrafFix Devices, Inc. v. Mktg. Displays,
Inc., 532 U.S. 23, 33, 58 USPQ2d 1001, 1006 (2001); Qualitex Co. v. Jacobson Prods. Co., 514 U.S. 159, 165, 34 USPQ2d 1161, 1163-64
(1995); TMEP §1202.02(a)(iii)(A).

Specifically, the shaping of the candy bar into equal sized pieces functions to enable consumers to break the candy into bite-sized pieces. (See
attachments).

A mark that consists of a three-dimensional configuration of a product or its packaging is functional, and thus unregistrable, when the evidence
shows that the design provides identifiable utilitarian advantages to the user; i.e., the product or container “has a particular shape because it
works better in [that] shape.” Valu Eng’g, Inc. v. Rexnord Corp. , 278 F.3d 1268, 1274, 61 USPQ2d 1422, 1425 (Fed. Cir. 2002) (internal
punctuation and citation omitted); see TMEP §1202.02(a)(iii)(A).

The evidence need not establish that the configuration at issue is the very best design for the particular product or product packaging. A
configuration can be held functional when the evidence shows that it provides a specific utilitarian advantage that makes it one of a few superior
designs available. See In re Bose Corp., 772 F.2d 866, 227 USPQ 1 (Fed. Cir. 1985) (holding shape of a loudspeaker system enclosure
functional because it conforms to the shape of the sound matrix and is thereby an efficient and superior design); In re Am. Nat’l Can Co. , 41
USPQ2d 1841 (TTAB 1997) (holding metal beverage containers with vertical fluting functional because vertical fluting is one of a limited
number of ways to strengthen can sidewalls and it allows for an easier way to grip and hold the can); TMEP §1202.02(a)(v), (a)(v)(C).

On the other hand, where the evidence shows that the specific product or container configuration at issue provides no real utilitarian advantages
to the user, but is one of many equally feasible, efficient and competitive designs, then it may be registrable. See In re Morton-Norwich Prods.,
Inc., 671 F.2d 1332, 213 USPQ 9 (C.C.P.A. 1982). However, a product configuration cannot be registered on the Principal Register without a
showing of acquired distinctiveness. See Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 54 USPQ2d 1065 (2000); TMEP
§1202.02(b)-(b)(i).

A determination that an applied-for configuration mark is functional constitutes an absolute bar to registration on the Principal or Supplemental
Registers, regardless of any evidence of acquired distinctiveness. Trademark Act Sections 2(e)(5) and 23(c), 15 U.S.C. §§1052(e)(5), 1091(c);
see TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29, 58 USPQ2d 1001, 1006 (2001); In re Controls Corp. of Am., 46 USPQ2d
1308, 1311 (TTAB 1998); TMEP §1202.02(a)(iii)(A).

NONDISTINCTIVE CONFIGURATION

Registration is also refused because the applied-for mark consists of a nondistinctive product design or nondistinctive features of a product design
that is not registrable on the Principal Register without sufficient proof of acquired distinctiveness. Trademark Act Sections 1, 2 and 45, 15
U.S.C. §§1051-1052, 1127; Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 210, 213-14, 54 USPQ2d 1065, 1068-69 (2000); In re
Slokevage, 441 F.3d 957, 961, 78 USPQ2d 1395, 1398 (Fed. Cir. 2006); see TMEP §1202.02(b)(i).

In this case, the applied-for mark is not inherently distinctive because shaping candy bars so that they may be broken into equal bite-sized pieces
is common. The applicant’s claim of acquired distinctiveness is insufficient. (See attachments).

In response to this refusal, applicant may submit evidence that the applied-for mark has acquired distinctiveness under Trademark Act Section
2(f) by submitting examples of advertising and promotional materials that specifically promote the applied-for mark as a trademark in the United
States, dollar figures for advertising devoted to such promotion, dealer and consumer statements of recognition of the applied-for mark as a
trademark, and any other evidence that establishes recognition of the matter as a mark for the goods. See 37 C.F.R. §2.41(a); TMEP §§1212.06
et seq. The evidence must relate to the promotion and recognition of the specific configuration embodied in the applied-for mark and not to the
goods in general. See, e.g., In re ic! berlin brillen GmbH, 85 USPQ2d 2021, 2023 (TTAB 2008); In re Edward Ski Prods. Inc., 49 USPQ2d
2001, 2005 (TTAB 1999); In re Pingel Enter. Inc., 46 USPQ2d 1811, 1822 (TTAB 1998).

In determining whether the applied-for mark has acquired distinctiveness, the following factors are generally considered: (1) length and
exclusivity of use of the mark in the United States by applicant; (2) the type, expense and amount of advertising of the mark in the United States;
and (3) applicant’s efforts in the United States to associate the mark with the source of the goods, such as in unsolicited media coverage and
consumer studies. See In re Steelbuilding.com, 415 F.3d 1293, 1300, 75 USPQ2d 1420, 1424 (Fed. Cir. 2005). A showing of acquired
distinctiveness need not consider all of these factors, and no single factor is determinative. Id.; see TMEP §§1212.06 et seq.

In establishing acquired distinctiveness, applicant may not rely on use other than use in commerce that may be regulated by the United States
Congress. Use solely in a foreign country or between two foreign countries is not evidence of acquired distinctiveness in the United States. In re
Rogers, 53 USPQ2d 1741, 1746 (TTAB 1999); TMEP §§1010, 1212.08.



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An applicant bears the burden of proving that a mark has acquired distinctiveness. See Yamaha Int’l Corp. v. Hoshino Gakki Co. , 840 F.2d
1572, 1578-79, 6 USPQ2d 1001, 1006 (Fed. Cir. 1988); In re Meyer & Wenthe, Inc., 267 F.2d 945, 949, 122 USPQ 372, 374-75 (C.C.P.A. 1959);
TMEP §1212.01.

An applicant can present any competent evidence to establish that a mark has acquired distinctiveness. The amount and type of evidence
required to establish acquired distinctiveness depends on the facts of each case and particularly on the nature of the mark sought to be registered.
See In re Owens-Corning Fiberglas Corp., 774 F.2d 1116, 1125, 227 USPQ 417, 422 (Fed. Cir. 1985); TMEP §1212.01.

--REQUEST FOR INFORMATION

Applicant must provide the following information and documentation regarding the applied-for three-dimensional configuration mark:

       (1) A written statement as to whether the applied-for mark is or has been the subject of a design or utility patent or patent application,
       including expired patents and abandoned patent applications. Applicant must also provide copies of the patent and/or patent application
       documentation.;

       (2) Advertising, promotional and/or explanatory materials concerning the applied-for configuration mark, particularly materials
       specifically related to the design feature(s) embodied in the applied-for mark.;

       (3) A written explanation and any evidence as to whether there are alternative designs available for the feature(s) embodied in the
       applied-for mark, and whether such alternative designs are equally efficient and/or competitive. Applicant must also provide a written
       explanation and any documentation concerning similar designs used by competitors.;

       (4) A written statement as to whether the product design or packaging design at issue results from a comparatively simple or inexpensive
       method of manufacture in relation to alternative designs for the product/container. Applicant must also provide information regarding the
       method and/or cost of manufacture relating to applicant’s goods.; and

       (5) Any other evidence that applicant considers relevant to the registrability of the applied-for configuration mark.

See 37 C.F.R. §2.61(b); In re Morton-Norwich Prods., Inc., 671 F.2d 1332, 1340-41, 213 USPQ 9, 15-16 (C.C.P.A. 1982); TMEP
§§1202.02(a)(v) et seq.

With regard to this requirement for information, the Trademark Trial and Appeal Board and its appeals court have recognized that the necessary
technical information for ex parte determinations regarding functionality is usually more readily available to an applicant, and thus the applicant
will normally be the source of much of the evidence in these cases. In re Teledyne Indus. Inc., 696 F.2d 968, 971, 217 USPQ 9, 11 (Fed. Cir.
1982); see In re Babies Beat Inc., 13 USPQ2d 1729, 1731 (TTAB 1990) (holding registration was properly refused where applicant failed to
comply with trademark examining attorney’s request for copies of patent applications and other patent information); TMEP §1202.02(a)(v).

DESCRIPTION OF CONFIGURATION MARK

Applicant has applied for a three-dimensional mark; however, applicant did not include a complete description of the mark in the application.
Specifically, the description does not indicate that the mark is a configuration of the goods. Therefore, applicant must provide an amended clear
and concise description of the mark that (1) indicates that the mark is a configuration of the goods or their packaging or a specific design feature
of the goods or packaging, and (2) describes in detail the features that applicant claims as its mark. See 37 C.F.R. §§2.37, 2.52(b)(2); In re
Famous Foods, Inc., 217 USPQ 177, 178 (TTAB 1983); TMEP §§807.10, 1202.02(c)(ii).

If the drawing includes broken lines to indicate placement of the mark, or matter not claimed as part of the mark, the description should include a
statement indicating that the matter shown in broken lines is not part of the mark and serves only to show the position or placement of the mark.
37 C.F.R. §2.52(b)(4); TMEP §§807.08, 1202.02(c)(ii).

The applicant may amend the description to the following, if accurate: The mark is a configuration of a candy bar that consists of twelve (12)
equally-sized recessed rectangular panels arranged in a four panel by three panel format with each panel having its own raised border within a
large rectangle.




TEAS PLUS APPLICANTS MUST SUBMIT DOCUMENTS ELECTRONICALLY OR SUBMIT FEE: Applicants who filed their application


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online using the reduced-fee TEAS Plus application must submit certain documents electronically. In addition, such applicants must accept
correspondence from the Office via e-mail throughout the examination process and maintain a valid e-mail address. 37 C.F.R. §§2.23(a), (b);
TMEP §§819, 819.02(a), (b). Failure to do so will incur an additional fee of $50 per class of goods and/or services. 37 C.F.R. §2.6(a)(1)(iv);
TMEP §819.04.

Therefore, applicant must submit the following documents using the Trademark Electronic Application System (TEAS) at
http://www.uspto.gov/teas/index.html: (1) responses to Office actions; (2) preliminary amendments; (3) changes of correspondence address; (4)
changes of owner’s address; (5) appointments and revocations of power of attorney; (6) appointments and revocations of domestic
representative; (7) amendments to allege use; (8) statements of use; (9) requests for extension of time to file a statement of use; and (10) requests
to delete a Trademark Act Section 1(b) basis. If applicant files any of these documents on paper instead of via TEAS, then applicant must also
submit the $50 per class fee. 37 C.F.R. §§2.6(a)(1)(iv), 2.23(a)(1); TMEP §§819.02(b), 819.04. Telephone responses that result in the issuance
of an examiner’s amendment will not incur this additional fee.




                                              /John Dwyer/
                                              Examining Attorney
                                              Law Office 116
                                              Telephone 571-272-9155
                                              Facsimile 571-273-9116




RESPOND TO THIS ACTION: Applicant should file a response to this Office action online using the form at
http://www.uspto.gov/teas/eTEASpageD.htm, waiting 48-72 hours if applicant received notification of the Office action via e-mail. For
technical assistance with the form, please e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
examining attorney. Do not respond to this Office action by e-mail; the USPTO does not accept e-mailed responses.

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